                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 ASHEVILLE DIVISION
                                Civil No. 1:18-CV-00007-MR-DLH

                                                     )
TERI LYNN HINKLE,
                                                     )
               Plaintiff,                            )   DEFENDANT TRANS UNION
                                                     )   LLC’S RESPONSE TO
       v.                                            )   PLAINTIFF’S MOTION FOR
                                                     )   LEAVE TO FILE SUR-REPLY TO
EXPERIAN INFORMATION SOLUTIONS,                      )   DEFENDANT’S REPLY TO
INC., TRANS UNION LLC, and EQUIFAX,                  )   PLAINTIFF’S OPPOSITION TO
INC.,                                                )   MOTION TO DISMISS
                                                     )
                        Defendants.                  )

       COMES NOW Defendant Trans Union LLC (“Trans Union”) and files this Response to

Plaintiff’s Motion for Leave to File Sur-reply to Defendant’s Reply to Plaintiff’s Opposition to

Motion to Dismiss and would respectfully show the Court as follows:

                                   PROCEDURAL HISTORY

       On January 8, 2018, Plaintiff filed her Complaint. See D.E. # 1. On February 19, 2018,

Trans Union filed its Motion to Dismiss and Memorandum in Support seeking dismissal of all of

Plaintiff’s claims in this matter. See D.E. ## 12, 13. On February 23, 2018, Plaintiff filed her

Memorandum in Opposition to Trans Union’s Motion to Dismiss. See D.E. # 16. On March 2,

2018, Trans Union filed its Reply in Response to Plaintiff’s Memorandum. See D.E. # 19.

                                           ARGUMENT

I.     Plaintiff Should Be Denied Leave To File A Sur-reply

       Local Rule 7.1(e) states “[s]urreplies are neither anticipated nor allowed by this Rule, but

leave of Court may be sought to file a surreply when warranted.” “Generally, sur-replies are

disfavored by this Court.” Gean v. Charlotte Mecklenburg Sch., No. 3:15-CV-275-RJC-DCK, 2016

U.S. Dist. LEXIS 175009, at *6 n.1 (W.D.N.C. Sep. 20, 2016). Courts “generally do not grant a

party leave to file a sur-reply unless the opposing party's reply brief includes new information that
                                                 1

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the responding party needs an opportunity to address.” Carrasco v. N.M. Dep’t of Workforce

Solutions, 2013 U.S. Dist. LEXIS 83420, at *15 (citing C.T. v. Liberal Sch. Dist, 562 F. Supp. 2d

1324, 1329 (D. Kan. 2008)).

       Plaintiff’s proposed sur-reply is not helpful or necessary to a ruling on the pending Motion

to Dismiss. Plaintiff does not respond to any new argument, no new information warranting a sur-

reply is offered and Plaintiff continues to fail to cure the deficiencies with the Complaint.

       Plaintiff submitted a redacted copy of what is purported to be her driver’s license with her

proposed sur-reply. However, the image is illegible and does not establish or even provide an

inference that a legible, unexpired license was ever submitted to Trans Union. To the contrary, the

proposed exhibits to Plaintiff’s sur-reply support the reasonableness of Trans Union’s letter

requesting proof of address because it had not been provided with acceptable documentation.

       Plaintiff mischaracterizes the tone and position of Trans Union. The court should disregard

such unsupported mischaracterizations. At this stage in the litigation, Trans Union is not required to

present its evidence, but rather shows why Plaintiff has failed to adequately state a claim under

Rules 12(b)(6) and 8. The only reason Trans Union’s reply mentioned a Georgia driver’s license

was in direct response to Plaintiff’s assertion about one in her Memorandum in Opposition to Trans

Union’s Motion to Dismiss. See D.E. # 16, ¶4.

       WHEREFORE, for the foregoing reasons, Trans Union respectfully requests that Plaintiff’s

Motion for Leave to File a Sur-reply be denied.




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Respectfully submitted,

This the 20th day of March, 2018.

                                    YOUNG MOORE AND HENDERSON, P.A.

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                                 CERTIFICATE OF SERVICE

       This is to certify that on March 20, 2018, a true and correct copy of the above and foregoing

document has been electronically filed with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to the following CM/ECF participants:

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